                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION



JENNIFER REED and             )
JOSE LUIS GARCIA TALENTINO,   )
                              )
    Plaintiffs,               )                   Civil Action No. 3:18-cv-00819
                              )
v.                            )                   Judge Eli J. Richardson
                              )                   Magistrate Judge Frensley
YOUNG HO KIM and UN JUNG KIM, )
                              )
    Defendants.               )




                                   JOINT STATUS REPORT


       The parties, in accordance with the Court’s Order of February 28, 2019 (Doc. No. 19),

have conducted a telephone conference on March 4, 2019, for the purpose of revisiting their

respective settlement positions. Although the parties in good faith have attempted settlement of

this matter, they report that a resolution could not be reached.

                                              Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 5th day of March, 2019, I electronically transmitted the above
and foregoing Joint Status Report to the Clerk of the Court using the CM/ECF System for filing
and that a true and correct copy of the foregoing has been served through the Court’s ECF filing
system as follows:

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                                                     /s/ Trevor W. Howell
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